                                                                     Case 2:21-cv-09414-MRW Document 1 Filed 12/03/21 Page 1 of 8 Page ID #:1



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                                                                    10

                                                                    11                        UNITED STATES DISTRICT COURT
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                                                                    12                      CENTRAL DISTRICT OF CALIFORNIA
                           ATTO RNEY S AT LAW
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                                                                    14   KARISSA PEDEN, an individual,             Case No.
                                                                    15                   Plaintiff,                [Los Angeles Superior Court Case No.
                                                                                                                   21STCV39720]
                                                                    16   vs.
                                                                                                                   NOTICE OF REMOVAL TO
                                                                    17   ONNI PROPERTIES LLC, a                    FEDERAL COURT UNDER 28
                                                                         corporation; and DOES 1 through 20        U.S.C. § 1441 (a)(b); 28 U.S.C. § 1332
                                                                    18   inclusive,
                                                                                                                   [Filed Concurrently herewith
                                                                    19                   Defendants.               Declarations of Melissa Cupa and
                                                                                                                   Benjamin J. Treger; and Notice of
                                                                    20                                             Interested Parties]
                                                                    21                                             Complaint Filed:       October 28, 2021
                                                                    22

                                                                    23   TO THE CLERK OF THE COURT:

                                                                    24         PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. Sections 1441(a), (b)

                                                                    25   and 1446, Defendant ONNI PROPERTIES LLC (“Defendant”) hereby removes the

                                                                    26   above-entitled action from the Superior Court of California in and for the County of

                                                                    27   Los Angeles to the United States District Court for the Central District of

                                                                    28   California.

                                                                         NOTICE OF REMOVAL TO FEDERAL COURT
                                                                                                                                                       4867-0212-2500
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                                                                     1         This Court has original jurisdiction over this action under 28 U.S.C. Section
                                                                     2   1332 because this action involves citizens of different states and the matter in
                                                                     3   controversy exceeds the sum of $75,000, exclusive of interest and costs.
                                                                     4   I.    TIMELINESS OF REMOVAL
                                                                     5         On or about October 28, 2021, Plaintiff Karissa Peden (“Plaintiff”), an
                                                                     6   individual, commenced this action in state court by filing a complaint
                                                                     7   (“Complaint”) entitled Karissa Peden v. Onni Properties LLC, a corporation; and
                                                                     8   DOES 1 through 20, inclusive, Los Angeles County Superior Court Case No.
                                                                     9   21STCV39720. The Complaint alleges the following purported causes of action:
                                                                    10   (1) Wrongful Termination (Tort); (2) Discrimination (Gov’t Code § 12940(a)); (3)
                                                                    11   Retaliation for Discrimination Complaints (Gov’t Code § 12940(h)); (4) Failure to
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                                                                    12   Prevent (Gov’t Code § 12940(k)); (5) Failure to Provide CFRA Leave (Gov’t Code
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                                                                    13   § 12940(k)); (6) Retaliation for Seeking CFRA Leave (Gov’t Code § 12940(q)); (7)
                                                                    14   Retaliation for Refusing and/or Complaining about Illegal conduct (Labor Coe §
                                                                    15   1102.5); (8) Failure to Pay Overtime (Labor Code §§ 51-, 1194, 1198, 1199); (9)
                                                                    16   Failure to Pay Overtime (Labor Code §§ 226.7and 512); (10) Failure to Authorize
                                                                    17   and permit Rest Breaks (Labor Code § 226.7); (11) Failure to Provide Accurate
                                                                    18   Wage Statements (Labor Code § 226(a)); (12) Failure to Pay Wages Owed Timely
                                                                    19   (Labor Code §§ 201-203); and (13) Private Attorney General Act (Labor Code §
                                                                    20   2698). [True and correct copies of the Summons and Complaint are collectively
                                                                    21   attached to the concurrently filed Declaration of Benjamin J. Treger (“Treger
                                                                    22   Decl.”) as Exhibit A.]
                                                                    23         Plaintiff personally served Onni Properties LLC (“Onni”) with the Summons
                                                                    24   and Complaint on November 3, 2021. [See Treger Decl., ¶ 3, Exhibit B.] (Also,
                                                                    25   on December 12, 2021, Onni answered this Complaint in the Los Angeles County
                                                                    26   Superior Court. [See Treger Decl., ¶ 3, Exhibit C.] This Notice of Removal, filed
                                                                    27   on December 3, 2021, within thirty (30) days of Onni’s receipt of Plaintiff’s
                                                                    28   Complaint, is timely filed pursuant to 28 U.S.C. Section 1446(b).
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                                                                     1   II.    VENUE
                                                                     2          Venue lies in the Central District pursuant to 28 U.S.C. Sections 1441(a) and
                                                                     3   1446(a). This action was originally brought in the Superior Court of the State of
                                                                     4   California, County of Los Angeles.
                                                                     5   III.   GROUNDS FOR REMOVAL ON THE BASIS OF DIVERSITY
                                                                     6          This is a civil action over which this Court has original jurisdiction, and one
                                                                     7   which Defendant may remove pursuant to the provisions of 28 U.S.C. Sections
                                                                     8   1332(a) and 1441(b) to this Court, in that the matter in controversy exceeds the sum
                                                                     9   of $75,000, exclusive of interest and costs, and is between a citizen of a foreign
                                                                    10   state and a citizen of a State within the United States, as described further below.
                                                                    11   Because the U.S. District Court for the Central District of California has original
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                                                                    12   jurisdiction over this lawsuit pursuant to 28 U.S.C. § 1332, this action may be
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                                                                    13   removed in its entirety pursuant to 28 U.S.C. § 1441(a) and (b). In addition, this
                                                                    14   Court has supplemental jurisdiction over all state law claims that are so related to
                                                                    15   claims within the Court’s original jurisdiction that they form part of the same case
                                                                    16   or controversy, pursuant to 28 U.S.C. § 1367(a).
                                                                    17          A.    Plaintiff’s Citizenship
                                                                    18          As alleged in the Complaint, “Plaintiff is a resident of the State of California,
                                                                    19   County of Los Angeles.” [Treger Decl., ¶ 2, Exhibit A (Complaint at ¶¶ 3).] For
                                                                    20   diversity purposes, a person is a “citizen” of the state in which he or she is
                                                                    21   domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir.
                                                                    22   1983). Residence is prima facie evidence of domicile. State Farm Mutual Auto
                                                                    23   Ins. Co. v. Dyer, 19 F. 3d 514, 520 (l0th Cir. 1994). Accordingly, Plaintiff is a
                                                                    24   citizen of the State of California.
                                                                    25   ///
                                                                    26   ///
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                                                                     1         B.     Defendant’s Citizenship
                                                                     2         The citizenship of a limited liability corporation is the citizenship of the
                                                                     3   LLC’s members. See, e.g., Johnson v. Columbia Properties Anchorage, LP, 437
                                                                     4   F.3d 894, 899 (9th Cir. 2006); see also Rolling Greens MHP, L.P. v. Comcast SCH
                                                                     5   Holdings, L.L.C., 374 F.3d 1020, 1022 (11th Cir. 2004) (“a limited liability
                                                                     6   company is a citizen of any state of which a member of the company is a citizen”).
                                                                     7         Under 28 U.S.C. Section 1332(c)(1), a corporation is deemed a citizen of
                                                                     8   “every State and foreign state by which it has been incorporated and of the State or
                                                                     9   foreign state where it has its principal place of business.” Specifically as to a
                                                                    10   foreign corporation, such an entity is a citizen of the foreign state in which it is
                                                                    11   incorporated. See JP Morgan Chase Bank v. Traffic Stream (BVI) Infrastructure
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                                                                    12   Ltd., 536 U.S. 88, 91-92 (2002) (a “corporation of a foreign State is, for purposes of
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                                                                    13   jurisdiction in the courts of the United States, to be deemed, constructively, a
                                                                    14   citizen or subject of such State”); see also Steamship Co. v. Tugman, 106 U.S. 118,
                                                                    15   121, 27 L. Ed. 87, 1 S. Ct. 58 (1882).
                                                                    16         Defendant is an Arizona limited liability company. (Declaration of Melissa
                                                                    17   Cupa, ¶ 3.) Defendant’s only member, in turn, is a foreign (Canadian) corporation:
                                                                    18   Panni Canada (USA) Holdings Ltd., located at, and with its principal place of
                                                                    19   business at, 200-1010 Seymour Street, Vancouver, BC, V6B3M6, Canada.
                                                                    20   (Declaration of Melissa Cupa, ¶ 3.) Thus, for diversity purposes, Defendant is a
                                                                    21   citizen of Canada.
                                                                    22                1.      Doe Defendants
                                                                    23         Although Plaintiff has also named fictitious defendants “DOES 1-20,” “[f]or
                                                                    24   purposes of removal under this chapter, the citizenship of defendants sued under
                                                                    25   fictitious names shall be disregarded.” 28 U.S.C. § 1441(a); see also Fristos v.
                                                                    26   Reynolds Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980) (unnamed defendants
                                                                    27   are not required to join in a removal petition). Thus, the existence of “Doe”
                                                                    28   defendants does not deprive the Court of jurisdiction.
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                                                                     1         C.       The Amount In Controversy “More Likely Than Not” Exceeds
                                                                     2                  $75,000
                                                                     3         Under 28 U.S.C. Section 1332(a), federal district courts have diversity
                                                                     4   jurisdiction over civil actions where the amount in controversy exceeds $75,000,
                                                                     5   exclusive of costs and interest. Where it is “unclear or ambiguous from the face of
                                                                     6   a state-court complaint whether the requisite amount in controversy is pled,” the
                                                                     7   Court must determine whether it is “more likely than not” that the amount in
                                                                     8   controversy exceeds $75,000. Guglielmino v. McKee Foods Corporation, 506 F.3d
                                                                     9   696, 699-701 (9th Cir. 2007). Here, the amount in controversy exceeds $75,000.
                                                                    10                  1.   Plaintiff’s Alleged Damages Exceed $75,000
                                                                    11         Under 28 U.S.C. §1332(a), federal district courts have diversity jurisdiction
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                                                                    12   over civil actions where the amount in controversy exceeds $75,000, exclusive of
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                                                                    13   costs and interest. Here, the damages sought by Plaintiff clearly exceed $75,000.
                                                                    14         Where it is “unclear or ambiguous from the face of a state-court complaint
                                                                    15   whether the requisite amount in controversy is pled,” the Court must determine
                                                                    16   whether it is “more likely than not” that the amount in controversy exceeds
                                                                    17   $75,000. Guglielmino v. McKee Foods Corporation, 506 F.3d 696, 699-701 (9th
                                                                    18   Cir. 2007). The Court must consider any “sums [that] would entail a payment” by
                                                                    19   the defendant, including damages for lost wages, compensatory damages, punitive
                                                                    20   damages, and attorneys’ fees. Id. at 701.
                                                                    21         Specifically, the Complaint alleges that Plaintiff has “suffered general
                                                                    22   damages,” and seeks to recover economic damages, non-economic damages,
                                                                    23   special damages, punitive damages, attorneys’ fees, and costs. (Complaint, Prayer
                                                                    24   for Relief.)
                                                                    25         Plaintiff’s allegations are sufficient to meet the minimum amount in
                                                                    26   controversy threshold. Plaintiff’s Complaint alleges that her employment was
                                                                    27   constructively terminated on or about June 9, 2021. (Complaint ¶ 11.) Thus,
                                                                    28   Plaintiff seeks lost wages for nearly half a year since her termination.
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                                                                     1   Furthermore, her lost wages will increase daily until trial and she will likely be
                                                                     2   seeking lost front wages at trial. Plaintiff’s Complaint further alleges that she
                                                                     3   earned $95,000 per year plus the opportunity of merit bonuses. Accordingly, she
                                                                     4   is already claiming approximately $45,000 in merely lost wages to date. This
                                                                     5   amount will continue to accumulate, and assuming she seeks as little as one year
                                                                     6   of lost wages, the amount in controversy is at least $95,000. (Complaint ¶ 15.)
                                                                     7         Plaintiff also seeks emotional distress damages, for which a jury could
                                                                     8   award at least $75,000. See, e.g., Keiffer v. Bechtel Corp., 65 Cal. App. 4th 893,
                                                                     9   895 (1998) (California Court of Appeal upheld jury award in excess of $75,000 for
                                                                    10   emotional distress damages in a wrongful termination case).
                                                                    11         Additionally, Plaintiff seeks attorneys’ fees. “[W]here an underlying statute
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                                                                    12   authorizes an award of attorneys’ fees, either with mandatory or discretionary
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                                                                    13   language, such fees may be included in the amount in controversy.” Guglielmino,
                                                                    14   supra, 506 F.3d at 700. Labor Code Section 226, the basis for Plaintiff’s fourth
                                                                    15   cause of action, authorizes attorneys’ fees. The Ninth Circuit has affirmed
                                                                    16   removal where the District Court “conservative[ly]” estimated attorneys’ fees to be
                                                                    17   12.5% of the actual damages sought. Id. at 698. This does not even account for
                                                                    18   recovery of attorneys’ fees based on a percentage of emotional distress damages,
                                                                    19   which are often in the six-figure range.
                                                                    20         Finally, Plaintiff seeks punitive damages. (Complaint ¶ Prayer for Relief.)
                                                                    21   In Guglielmino, the court “conservative[ly]” estimated punitive damages at a ratio
                                                                    22   of 1:1 with the actual damages sought. Id.
                                                                    23         Accordingly, the damages Plaintiff seeks far exceed the jurisdictional
                                                                    24   minimum to satisfy diversity jurisdiction, and the jurisdictional amount in
                                                                    25   controversy requirement has been met for purposes of the diversity statute.
                                                                    26   IV.   CONCLUSION
                                                                    27         Based on the foregoing, this Court has jurisdiction over this action under the
                                                                    28   provisions of 28 U.S.C. Section 1332, in that this action involves a controversy
                                                                                                                    6
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                                                                     1   which exceeds the value of $75,000.00, exclusive of interest and costs, and is
                                                                     2   between citizens of different States. Accordingly, this action is properly removed
                                                                     3   to this Court pursuant to the provisions of 28 U.S.C. Sections 1441 and 1446.
                                                                     4   V.    NOTICE TO PLAINTIFF AND TO STATE COURT
                                                                     5         A true and correct copy of this Notice of Removal will be served on the
                                                                     6   Plaintiff and filed with the Clerk of the Superior Court of the State of California,
                                                                     7   County of Los Angeles, as required by law.
                                                                     8

                                                                     9   Dated: December 3, 2021                           HIRSCHFELD KRAEMER LLP
                                                                    10

                                                                    11                                                  By:
H IRSCHFELD K RAEMER LLP




                                                                                                                                      Monte Grix
                                                                    12                                                            Benjamin J. Treger
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                                                                                                                        Attorneys for Defendant
                                                                    13                                                  ONNI PROPERTIES LLC
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                                                                     1                                    CERTIFICATE OF SERVICE

                                                                     2     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                                                                     3          I, the undersigned, am a resident of the State of California, over the age of eighteen years,
                                                                         and not a party to the within action. My business address is 233 Wilshire Boulevard, Suite 600,
                                                                     4   Santa Monica, California 90401. On December 3, 2021, I served the following document(s) by
                                                                         the method indicated below:
                                                                     5
                                                                           NOTICE OF REMOVAL TO FEDERAL COURT UNDER 28 U.S.C. § 1441
                                                                     6                       (a)(b); 28 U.S.C. § 1332

                                                                     7              Due to the National Emergency and public health orders in California related to the
                                                                                     coronavirus and COVID-19 pandemic, Hirschfeld Kraemer LLP attorneys and staff
                                                                     8               are working remotely and therefore have limited capabilities to send physical mail in
                                                                                     the normal course of business. On this date, I personally transmitted the foregoing
                                                                     9               document(s) using electronic mail to the e-mail address(es) of the person(s) on the
                                                                                     attached service list.
                                                                    10
                                                                                    by placing the document(s) listed above in a sealed envelope(s) and by causing
                                                                                     messenger delivery of the envelope(s) to the person(s) at the address(es) set forth
                                                                    11               below. I am readily familiar with the business practice of my place of employment
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                                                                                     with respect to the collection and processing of correspondence, pleadings and notices
                                                                    12               for hand delivery. On December 3, 2021, I caused to be served via messenger the
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                                                                                     above-listed documents.
                                                                    13
                                                                                    by electronic Filing: I hereby certify that on December 3, 2021, a copy of the
                                                                                     foregoing document was filed electronically. Notice of this filing will be sent
                                                                    14
                                                                                     by operation of the Court’s electronic system to all parties indicated on the
                                                                    15               electronic filing receipt. Parties may access this filing through the Court’s
                                                                                     electronic filing system.
                                                                    16
                                                                                    by placing the document(s) listed above in a sealed envelope(s) and consigning it to
                                                                                     an express mail service for guaranteed delivery on the next business day following
                                                                    17               the date of consignment to the address(es) set forth below.
                                                                    18
                                                                                 Aaron N. Colby, Esq.                         Telephone: (818) 253-1599
                                                                    19           Colby Law Firm, PC                           Facsimile: (818) 475-1981
                                                                                 13263 Ventura Blvd., Suite 203               Email: aaron@colbylegal.com
                                                                    20           Studio City, CA 91604
                                                                    21
                                                                                 I declare under penalty of perjury under the laws of the United States that the foregoing is
                                                                    22   true and correct, and that I am employed by an officer of a member of the bar of this Court at
                                                                         whose direction the service was made. Executed on December 3, 2021 at Santa Monica,
                                                                    23   California.

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                                                                    25
                                                                                                                                          Mayra L. Vera
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